      Case 1:25-cv-01674-RDM          Document 1    Filed 05/27/25   Page 1 of 43




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

NATIONAL PUBLIC RADIO, INC.,
1111 North Capitol Street NE,
Washington, DC 20002;
ROARING FORK PUBLIC RADIO, INC. D/B/A
ASPEN PUBLIC RADIO,
110 E. Hallam Street, Suite 134,
Aspen, CO 81611;
COLORADO PUBLIC RADIO,
7409 S. Alton Court,
Centennial, CO 80112;
KUTE INC. D/B/A KSUT PUBLIC RADIO,
15150 CO-172,
Ignacio, CO 81137,

                             Plaintiffs,

              v.

DONALD J. TRUMP, in his official capacity as
                                                              Civil Case No. _________
President of the United States,
1600 Pennsylvania Avenue NW
Washington, D.C. 20500;                            COMPLAINT FOR DECLARATORY
RUSSELL T. VOUGHT, in his official capacity             AND INJUNCTIVE RELIEF
as Director of the Office of Management and
Budget, 725 17th Street NW,
Washington, D.C. 20503;
SCOTT BESSENT, in his official capacity as
Secretary of the Treasury, 1500 Pennsylvania
Avenue NW
Washington, D.C. 20220;
MARIA ROSARIO JACKSON, in her official
capacity as Chair of the National Endowment
for the Arts, 400 7th Street SW
Washington, D.C. 20506;
OFFICE OF MANAGEMENT AND BUDGET, 725
17th Street NW,
Washington, D.C. 20503;
UNITED STATES DEPARTMENT OF THE
TREASURY, 1500 Pennsylvania Avenue NW
Washington, D.C. 20220;
     Case 1:25-cv-01674-RDM       Document 1   Filed 05/27/25   Page 2 of 43




NATIONAL ENDOWMENT FOR THE ARTS, 400
7th Street SW
Washington, D.C. 20506;
THE CORPORATION FOR PUBLIC
BROADCASTING, 401 9th Street NW
Washington, D.C. 20004,
                         Defendants.
       Case 1:25-cv-01674-RDM            Document 1        Filed 05/27/25       Page 3 of 43




                                        INTRODUCTION

       1.      Plaintiff National Public Radio, Inc. (NPR) and Plaintiffs Roaring Fork Public

Radio, Inc. d/b/a Aspen Public Radio (Aspen Public Radio), Colorado Public Radio (CPR), and

KUTE, Inc. d/b/a KSUT Public Radio (KSUT) (together, the Local Member Stations) bring this

action to challenge an Executive Order that violates the expressed will of Congress and the First

Amendment’s bedrock guarantees of freedom of speech, freedom of the press, and freedom of

association, and also threatens the existence of a public radio system that millions of Americans

across the country rely on for vital news and information.

       2.      “If there is any fixed star in our constitutional constellation, it is that no official,

high or petty, can prescribe what shall be orthodox” in matters of politics or opinion. West Va.

State Bd. of Educ. v. Barnette, 319 U.S. 624, 642 (1943). As the Supreme Court reiterated just last

year, “it is no job for government to decide what counts as the right balance of private expression—

to ‘un-bias’ what it thinks biased, rather than to leave such judgments to speakers and their

audiences.” Moody v. NetChoice, LLC, 603 U.S. 707, 719 (2024). These fundamental First

Amendment principles apply in full force in the context of public media and doom Executive Order

14290, which expressly aims to punish and control Plaintiffs’ news coverage and other speech the

Administration deems “biased.” The Order also violates due process, the Separation of Powers

and the Spending Clause of the Constitution. See U.S. Const. Art. I, § 8, cl. 1. It cannot stand.

       3.      By statute and longstanding public policy, Congress has for decades promoted,

supported and protected from governmental interference the speech of private entities in the public

broadcasting system, including NPR and non-commercial radio stations like the Local Member

Stations. In so doing, Congress recognized not only that promoting and supporting public

broadcasting serves the public interest, but also that such speech remains private—and thus fully

                                                  1
        Case 1:25-cv-01674-RDM            Document 1       Filed 05/27/25       Page 4 of 43




protected from censorship, retaliation or other forms of governmental interference, consistent with

the Constitution and our country’s democratic traditions. Yet the President—criticizing what he

perceives as “bias” in the award-winning journalism and cultural programming produced by

NPR—has issued an Executive Order that thwarts Congress’s intent and the First Amendment

rights of Plaintiffs to be free from the government’s attempts to control their private speech, and

their rights to be free from retaliation aimed at punishing and chilling protected speech, journalistic

activities, and expressive association.

        4.     Congress enacted the Public Broadcasting Act of 1967 (the Act) because it

determined that broad access to free, high-quality, independent public radio and television

programming produced and aired by private entities for the benefit of all Americans was a public

good.    The Act created the infrastructure for a public radio system that, today, reaches

approximately 99 percent of the U.S. population over the airwaves and, in doing so, serves the

same fundamental purpose—to foster an engaged and informed citizenry—as the First

Amendment. See Citizens United v. Federal Election Comm’n, 558 U.S. 310, 339 (2010) (“The

right of citizens to inquire, to hear, to speak, and to use information to reach consensus is a

precondition to enlightened self-government and a necessary means to protect it.”)

        5.     Two pillars of the Act have been central to its success. First, Congress appropriated

federal funding to support independent public broadcasting—funding that it has continued to

appropriate, year after year, with bipartisan support. Second, to achieve Congress’s “cardinal

objective” that public broadcasting be shielded from “extraneous interference and control,” the

Act creates an “elaborate structure . . . to insulate [broadcasters] from government interference,”

FCC v. League of Women Voters of Cal., 468 U.S. 364, 386-89 (1984)—including by interposing




                                                  2
       Case 1:25-cv-01674-RDM           Document 1          Filed 05/27/25   Page 5 of 43




a private entity, the Corporation for Public Broadcasting (the Corporation or CPB), between the

government and the ultimate recipients of appropriated funds.

        6.      For more than 50 years, NPR has been a vital source for news and cultural

programming, ranging from Morning Edition and All Things Considered to Planet Money and Tiny

Desk Radio. NPR serves an audience of more than 43 million Americans each week, including

through a network of local public radio stations like the Local Member Stations that are dedicated

to serving their communities. And as the entity selected by the nation’s public radio stations to

manage and operate the Public Radio Satellite System (PRSS)—the nation’s public radio

interconnection system—NPR for decades has provided critical infrastructure services for an even

larger group of radio stations, ensuring, among other things, that federal emergency alerts reach

those residing in the most remote corners of the country.

        7.      NPR and the Local Member Stations benefit from, and participate in, the structure

for public radio created by Congress in the Act, including its funding mechanisms, and the

statutory and constitutional protections that insulate them from governmental interference with

their editorial decisions.

        8.      On May 1, 2025, President Trump issued Executive Order 14290, entitled “Ending

Taxpayer Subsidization of Biased Media” (the Order), 90 Fed. Reg. 19415, which contradicts these

statutory precepts and violates the Constitution. Contrary to Congress’s intent to support an

independent public radio and television system, and statutory requirements that expressly shield

the Corporation and entities like Plaintiffs from governmental interference, the Order directs

federal agencies as well as the Corporation to withhold all federal funding from NPR and the

Public Broadcasting Service (PBS). The Order further directs the Corporation to “cease indirect

funding to NPR and PBS” by mandating that local radio and television stations that receive grants



                                                3
       Case 1:25-cv-01674-RDM          Document 1       Filed 05/27/25      Page 6 of 43




from CPB, like the Local Member Stations, not use those federal funds to acquire NPR or PBS

programming, and by revising existing grant agreements to prohibit grantees “from funding NPR

or PBS.” Order § 2(b).

       9.      It is not always obvious when the government has acted with a retaliatory purpose

in violation of the First Amendment. “But this wolf comes as a wolf.” Morrison v. Olson, 487

U.S. 654, 699 (1988) (Scalia, J., dissenting). The Order targets NPR and PBS expressly because,

in the President’s view, their news and other content is not “fair, accurate, or unbiased.” Order

§ 1. And the “Fact Sheet” and press release accompanying the Order, which echo prior statements

by President Trump and members of his Administration, only drive home the Order’s overt

retaliatory purpose. They deride NPR’s content as “left-wing propaganda,” and underline the

President’s antipathy toward NPR’s news coverage and its editorial choices. See “Fact Sheet:

President Donald J. Trump Ends Taxpayer Subsidization of Biased Media” (May 1, 2025)

(asserting that NPR published articles “insist[ing] COVID-19 did not originate in a lab” and

“refused to cover the Hunter Biden laptop story”);1 Press Release, “President Trump Finally Ends

the Madness of NPR, PBS” (May 2, 2025) (asserting that NPR “apologized for calling illegal

immigrants ‘illegal’”).2

       10.     The Order is unlawful in multiple ways. It flatly contravenes statutes duly enacted

by Congress and violates the Separation of Powers and the Spending Clause by disregarding

Congress’s express commands. It also violates the First Amendment’s guarantees of freedom of

speech and of the press. The Order’s objectives could not be clearer: the Order aims to punish



1
  Available at https://www.whitehouse.gov/fact-sheets/2025/05/fact-sheet-president-donald-j-
trump-ends-the-taxpayer-subsidization-of-biased-media/.
2
 Available at https://www.whitehouse.gov/articles/2025/05/president-trump-finally-ends-the-
madness-of-npr-pbs/.

                                                4
       Case 1:25-cv-01674-RDM            Document 1       Filed 05/27/25      Page 7 of 43




NPR for the content of news and other programming the President dislikes and chill the free

exercise of First Amendment rights by NPR and individual public radio stations across the country.

The Order is textbook retaliation and viewpoint-based discrimination in violation of the First

Amendment, and it interferes with NPR’s and the Local Member Stations’ freedom of expressive

association and editorial discretion. This is an “egregious form of content discrimination,” an

assault on the First Amendment that is “all the more blatant.” Rosenberger v. Rector & Visitors

of Univ. of Va., 515 U.S. 819, 829 (1995). In the words of the D.C. Circuit, such “viewpoint

discrimination is poison.” Frederick Douglass Found., Inc. v. District of Columbia, 82 F.4th 1122,

1141 (D.C. Cir. 2023) ((internal quotations omitted)). Lastly, by seeking to deny NPR critical

funding with no notice or meaningful process, the Order violates the Constitution’s Due Process

Clause.

                                             PARTIES

          11.   Plaintiff National Public Radio, Inc. (NPR) is a private nonprofit corporation. It is

headquartered in, and incorporated under the laws of, the District of Columbia.

          12.   Plaintiff Roaring Fork Public Radio, Inc. d/b/a Aspen Public Radio (Aspen Public

Radio) is a public radio station based in Aspen, Colorado. It has been an NPR Member station

since 1990.

          13.   Plaintiff Colorado Public Radio (CPR) is a public radio network based in

Centennial, Colorado, with offices in Denver, Grand Junction, and Colorado Springs. It has been

an NPR Member station since 1973.

          14.   Founded by the Southern Ute Indian Tribe in 1976, Plaintiff KUTE Inc., d/b/a

KSUT Public Radio (KSUT), is a public radio network based in Ignacio, Colorado. It has been an

NPR Member station since 1984.



                                                  5
       Case 1:25-cv-01674-RDM           Document 1        Filed 05/27/25     Page 8 of 43




        15.     Defendant Donald J. Trump is the President of the United States. He is sued in his

official capacity.

        16.     Defendant Russell T. Vought is Director of the Office of Management and Budget.

He is sued in his official capacity.

        17.     Defendant Scott Bessent is Secretary the United States Department of the Treasury.

He is sued in his official capacity.

        18.     Defendant Maria Rosario Jackson is Chair of the National Endowment for the Arts.

She is sued in her official capacity.

        19.     Defendant Office of Management and Budget is a federal agency established within

the Executive Office of the President headquartered in Washington, D.C.

        20.     Defendant United States Department of the Treasury is a federal agency

headquartered in Washington, D.C.

        21.     Defendant National Endowment for the Arts is an independent federal agency

headquartered in Washington, D.C.

        22.     Defendant Corporation for Public Broadcasting is a nonprofit corporation

headquartered in Washington, D.C. The Corporation is named as a defendant solely for the

purpose of obtaining complete relief.

                                 JURISDICTION AND VENUE

        23.     This Court has subject-matter jurisdiction because this action arises under the

Constitution of the United States and federal statutes, 28 U.S.C. § 1331, and because the individual

Defendants are United States officials, 28 U.S.C. § 1346(a)(2).

        24.     The Court is authorized to award the requested relief under 28 U.S.C. §§ 2201 and

2202 and pursuant to its inherent equitable powers.



                                                 6
       Case 1:25-cv-01674-RDM           Document 1        Filed 05/27/25     Page 9 of 43




       25.     Venue is proper in this District under 28 U.S.C. § 1391(b) because a substantial

part of the events giving rise to the claims occurred in the District of Columbia; and under 28

U.S.C. § 1391(e)(1) because the federal agency defendants reside in the District of Columbia.

                                        BACKGROUND

         The Public Broadcasting Act and the Corporation for Public Broadcasting

       26.     Congress, determining that “it is in the public interest to encourage the growth and

development of public radio and television broadcasting,” established the Corporation for Public

Broadcasting (the Corporation or CPB) in the Public Broadcasting Act of 1967 (the Act). 47

U.S.C. § 396(a)(1), (b).

       27.     The Corporation was established as a private “nonprofit corporation” and is not “an

agency or establishment of the United States Government.” Id. § 396(b).

       28.     The Corporation is overseen by a Board of Directors appointed by the President

and confirmed by the Senate. Id. § 396(c)(2).

       29.     The Corporation’s primary purposes include to “facilitate the full development of

public telecommunications in which programs of high quality” and “creativity” will be “obtained

from diverse sources” and “made available to public telecommunications entities”; to “assist in the

establishment and development of one or more interconnection systems to be used for the

distribution of public telecommunications services”; and to “assist in the establishment and

development of one or more systems of public telecommunications entities.” Id. § 396(g)(1).

       30.     The Public Broadcasting Act details how the Corporation must allocate its general

appropriation from Congress. After administrative and system support expenses, the Corporation

must spend 25 percent of that appropriation to support public radio and 75 percent to support public

television. 47 U.S.C. § 396(k)(3)(A).



                                                 7
      Case 1:25-cv-01674-RDM            Document 1        Filed 05/27/25      Page 10 of 43




       31.     Of the amount designated for public radio funding, the Corporation must make 70

percent available to public radio stations that meet certain criteria. A further 23 percent must be

made available to those public radio stations exclusively for “acquiring or producing programming

that is to be distributed nationally and is designed to serve the needs of a national audience.” Id.

§ 396(k)(3)(A)(iii). The remaining 7 percent must be made available for the production of public

radio programming. Id.

       32.     The Corporation distributes the vast majority of public radio funding to local public

radio stations. In general, stations may apply for two types of grants from the Corporation,

consistent with the provision of the Public Broadcasting Act. The first, called “unrestricted”

Community Service Grants (CSGs), can be used to fund programming and production, educational

outreach, broadcasting, transmission, distribution, and other operational expenses.          See id.

§ 396(k)(3)(A)(iii)(I). The second, called “restricted” CSGs, must be used to acquire or produce

programming that is distributed nationally and serves the needs of national audiences. See id

§ 396(k)(3)(A)(iii)(III). Member stations may use restricted grant funds to acquire NPR content

or content from other national producers. Public radio stations may also use these funds to produce

programming locally and distribute it regionally or nationally. For some local public radio stations

in rural or remote areas, CPB grants constitute 50 percent or more of their operating budgets.

       33.     The Public Broadcasting Act separately establishes a Satellite Interconnection Fund

to fund interconnection systems used for the distribution of public telecommunications services.

Id. §§ 396(g)(1)(B), (k)(10). Subject to other statutory requirements, all funds appropriated to the

Satellite Interconnection Fund “shall be distributed by the Corporation” to public education

television stations or the entity they designate for interconnection purposes, and “to those public

telecommunications entities participating in the public radio satellite interconnection system or the



                                                 8
      Case 1:25-cv-01674-RDM            Document 1        Filed 05/27/25      Page 11 of 43




national entity they designate for satellite interconnection purposes.” Id. § 396(k)(10)(D)(i).

Those funds must be used “exclusively for the capital costs of the replacement, refurbishment, or

upgrading of their national satellite interconnection systems and associated maintenance of such

systems.”      Id.   The Public Radio Satellite System (PRSS) is the nation’s public radio

interconnection system.

       34.       Congress has appropriated $535 million in general funding for the Corporation for

Fiscal Years 2025, 2026, and 2027. See Pub. L. No. 117-328, Div. H, tit. IV (for Fiscal Year

2025); Pub. L. No. 118-47, Div. D, tit. IV (for Fiscal Year 2026); Pub. L. No. 119-4, Div. A, tit. I,

§ 1112 (extending prior appropriations “in the same amount” for Fiscal Year 2027). Additionally,

Congress has appropriated $60 million for interconnection services for Fiscal Year 2025. See Pub.

L. No. 118-47, Div. D, tit. IV ($60 million for interconnection services for Fiscal Year 2024); Pub.

L. No. 119-4, Div. A, tit. I, § 1101(a)(8) (extending appropriations at the same levels as Fiscal

Year 2024).

       35.       In enacting the Public Broadcasting Act, one of Congress’s overriding goals was to

guarantee the Corporation, and the public broadcasting entities that receive federal funds from the

Corporation, “maximum protection from extraneous inference and control.”                 47 U.S.C.

§ 396(a)(1).

       36.       The Act expressly denies “authoriz[ation to] any department, agency, officer, or

employee of the United States to exercise any direction, supervision, or control over public

telecommunications, or over the Corporation or any of its grantees or contractors, or over the

charter or bylaws of the Corporation, or over the curriculum, program of instruction, or personnel

of any . . . public telecommunications entity.” Id. § 398(a). This provision has only one exception,

concerning the enforcement of antidiscrimination laws. Id. § 398(b).



                                                 9
       Case 1:25-cv-01674-RDM             Document 1        Filed 05/27/25       Page 12 of 43




        37.     The Act further clarifies that “[n]othing in this section shall be construed to

authorize any department, agency, officer, or employee of the United States to exercise any

direction, supervision, or control over the content or distribution of public telecommunications

programs and services.” Id. § 398(c). Still another provision in the Act makes clear that the

Corporation is to “carry out its purposes and functions . . . in ways that will most effectively assure

the maximum freedom of the public telecommunications entities and systems from interference

with, or control of, program content or other activities.” Id. § 396(g)(1)(D).

        38.     In addition to making clear that the Corporation is “not . . . an agency or

establishment of the United States Government,” id. § 396(b), the Act also makes clear that the

CPB’s Board members “shall not, by reason of such membership, be deemed to be officers or

employees of the United States,” id. § 396(d)(2). The Board is fully empowered to choose CPB’s

President and other officers, who are not government employees, and who “shall serve at the

pleasure of the Board.” Id. § 396(e)(1). The Board is expressly prohibited from using any

“political test or qualification” in selecting officers or taking other personnel actions. Id. §

396(e)(2).

        39.     In order to further ensure that the Corporation allocates funding in a manner that is

free from political influence and aligned with Congress’s goals, the Act directs the Corporation to

distribute funds to public radio stations “in accordance with eligibility criteria . . . that promote the

public interest in public broadcasting, and on the basis of a formula designed to” provide for the

financial needs of those stations in relation to their audiences; provide incentives for non-federal

financial support; and “assure that each eligible licensee and permittee of a public radio station




                                                   10
      Case 1:25-cv-01674-RDM             Document 1         Filed 05/27/25       Page 13 of 43




receives a basic grant.” Id. § 396(k)(6)(B). Accordingly, each year CPB publishes its “Radio

Community Services Grants General Provisions and Eligibility Criteria” (Eligibility Criteria).3

       40.     The Eligibility Criteria for local public radio stations require that stations comply

with the Public Broadcasting Act’s requirements. Those requirements include, among other

things, that recipients must conduct open meetings; maintain open financial records; establish a

community advisory board; and produce employment statistical reports. See Eligibility Criteria at

4-6; 47 U.S.C. §§ 396(k)(4), (5), (8), (11), (12). Recipients must also meet various technical

requirements with respect to recordkeeping, operations, staffing, audience service, and training.

Eligibility Criteria at 6-13. The Eligibility Criteria do not take into account the content or

viewpoint of a local public radio station’s programming.

       41.     If a public radio station meets the Eligibility Criteria, it is entitled to receive funding

in accordance with a specific formula promulgated by the Corporation. See Corporation for Public

Broadcasting, “Fiscal Year 2025 Radio Station Grant Calculations.”4 That formula reflects the

Public Broadcasting Act’s requirement that a fixed portion of grant funds must be spent on

programming designed to serve a national audience. Id.; see 47 U.S.C. § 396(k)(3)(A)(iii)(III).

                             The National Endowment for the Arts

       42.     The National Endowment for the Arts (NEA) is an independent federal agency that

supports the arts through grant programs. As relevant here, it is authorized to award grants to

nonprofit organizations for purposes such as “enabling cultural organizations and institutions to


3
 Available at
https://cpb.org/sites/default/files/FY%202025%20Radio%20CSG%20General%20Provisions%2
0and%20Eligibility%20Criteria.pdf.
4
 Available at
https://cpb.org/sites/default/files/Radio%20Community%20Service%20Grant%20Calculations%
20-%20FY%202025.pdf.

                                                  11
      Case 1:25-cv-01674-RDM            Document 1        Filed 05/27/25      Page 14 of 43




increase the levels of continuing support and to increase the range of contributors to the programs

of such organizations or institutions”; “providing administrative and management improvements

for cultural organizations and institutions”; “enabling cultural organizations and institutions to

increase audience participation in, and appreciation of, programs sponsored by such organizations

and institutions”; and “stimulating artistic activity and awareness which are in keeping with the

varied cultural traditions of this Nation.” 20 U.S.C. § 954(p).

       43.     When considering grant applications, NEA is required to ensure that “applications

are consistent with the purposes of this section” and that “artistic excellence and artistic merit are

the criteria by which applications are judged, taking into consideration general standards of

decency and respect for the diverse beliefs and values of the American public.” Id. § 954(d).

                                      National Public Radio

       44.     NPR is an independent, nonprofit media organization that serves millions of

Americans each day. NPR is not a public radio station, nor does it operate one. Instead, NPR

produces, acquires, and distributes programming, including national news programming, that is

made available to independent locally owned and operated public radio stations around the

country. NPR’s mission is to work with those local public radio stations to cultivate an informed

public, fostering a deeper understanding and appreciation of events, ideas, and cultures.

       45.     A local public radio station may choose to become an NPR Member station. NPR’s

commitment to its Member stations is to provide benefits that help them deliver on their mission

to the American people, grow audiences across platforms, and build sustainable business models.

       46.     NPR Member stations pay a membership “core fee” to license certain NPR content,

which may include Morning Edition, All Things Considered, and Weekend Edition, and receive

other benefits, including NPR-led advocacy on behalf of the public radio system, digital services,


                                                 12
      Case 1:25-cv-01674-RDM             Document 1        Filed 05/27/25      Page 15 of 43




and music licensing support, among other things. Member stations may also choose to license

additional content from NPR such as specific news, talk, entertainment, or music programs. NPR

Member stations participate in NPR’s governance, including voting for and serving on NPR’s

Board of Directors. A Member station’s “core fee” is calculated on an individualized basis based

on a variety of factors designed to ensure alignment with the station’s revenue size and reflect

NPR’s contribution to the station’s ability to generate revenue from its local audience. A Member

station’s “core fee” is not based on the amount of federal support that it may receive from the

Corporation. NPR currently has 246 Member stations across the country, including in the District

of Columbia, U.S. Virgin Islands, and Guam, collectively operating more than 1,000 public radio

signals and hundreds of digital platforms.

       47.     All Things Considered, NPR’s flagship news program, is the most listened-to

afternoon drive-time, news radio program in the country. Since its debut in 1971, All Things

Considered has provided listeners with the biggest stories of the day, thoughtful commentaries,

and insightful features on arts and life, music and entertainment. All Things Considered and NPR’s

weekday morning radio news program, Morning Edition, draw on reporting from correspondents

based around the world, and producers and reporters in locations throughout the United States,

including reporters at local Member stations across the country.

       48.     NPR upholds the highest standards of public service in journalism.              NPR’s

excellence in journalism has repeatedly been recognized. In recent years, for example, NPR has

won a Pulitzer Prize, eight Edward R. Murrow awards, two National Press Club awards, and an

Alfred I. duPont-Columbia award for its exceptional journalism.

       49.     NPR ensures the integrity and high standards of its journalism through multiple,

rigorous safeguards. It maintains an editorial firewall that protects against interference in editorial



                                                  13
      Case 1:25-cv-01674-RDM            Document 1       Filed 05/27/25      Page 16 of 43




decision-making by its management or external actors, and it requires all editorial staff to adhere

to stringent ethics policies set out in the NPR Ethics Handbook. Among other things, the NPR

Ethics Handbook prohibits staff connected with news coverage from making contributions to

political campaigns or referendums.

       50.     NPR also manages and operates the Public Radio Satellite System (PRSS), the

nation’s public radio interconnection system. The PRSS is the satellite and terrestrial content

distribution system that serves as the nationwide infrastructure backbone of the public radio

system. The PRSS, which has been managed and operated by NPR for decades, delivers thousands

of hours of news, music, and other programming from a wide range of producers each year to

public radio stations across the country.

       51.     The PRSS plays a vital role in ensuring that essential information reaches all

Americans during times of emergency. It serves 379 public radio stations, including NPR’s 246

Member stations, and more than 1,200 radio signals, enabling essential information to reach

approximately 99 percent of Americans over the airwaves, including those living in rural or remote

communities. In the event of a nationwide crisis, the PRSS receives Presidential alerts from the

Federal Emergency Management Agency (FEMA), which it transmits to public radio stations

throughout the country. The PRSS has been named as a resource in at least 20 states’ emergency

plans, and public radio stations are included in more than 35 states’ emergency plans.

       52.     Each of the public radio stations participating in the PRSS (collectively, the

Interconnected Stations) is a stakeholder in its collective assets and a customer of the services it

provides. Interconnected Stations own their own downlink and uplink equipment. For purposes

of the Public Broadcasting Act, the Interconnected Stations have “designate[d]” NPR as the

“national entity” responsible for managing and operating the PRSS. 47 U.S.C. § 396(k)(10)(D)(i).



                                                14
      Case 1:25-cv-01674-RDM           Document 1       Filed 05/27/25      Page 17 of 43




       53.     NPR is funded primarily through sponsorships, donations from individuals and

private entities, membership and licensing fees from local public radio stations, direct funding

from the Corporation, and direct funding from other government grants, including grants awarded

by the NEA.

       54.     In total, NPR receives approximately $100 million, or approximately 31 percent of

its annual operating revenue through membership fees and the licensing of content to its 246

Member stations and other public radio stations.

       55.     Member stations choose to acquire content from NPR for a variety of reasons,

including audience interest, the needs of their local communities, the relative cost of acquiring

such programming, especially in comparison to its value to the station, and their own journalistic

and editorial judgments about the quality of NPR’s programming. In many rural areas, NPR

Member stations are the only free providers of local and national news, and reliable emergency

information.

       56.     NPR also receives direct funds through grants from CPB. For Fiscal Year 2024, it

spent approximately $11.1 million, in total, in grants from the Corporation for programming and

to support the PRSS. NPR must apply for such grants and comply with the terms of any applicable

grant agreements, including, for example, by producing reports.

       57.     Approximately $6.8 million of that funding came from a grant specifically

designated to support the PRSS.

       58.     Approximately $4.3 million of that funding came from competitive grants used,

among other things, to provide safety and security for journalists working in war zones, produce

content regarding the war in Ukraine, and provide support for local news stations in rural areas.




                                                15
      Case 1:25-cv-01674-RDM             Document 1    Filed 05/27/25       Page 18 of 43




       59.     For the past several years, NPR also has received grants from the NEA. In 2024,

NPR was awarded approximately $65,000 in NEA grant funding.

                                  The Local Member Stations

       60.     Aspen Public Radio, Colorado Public Radio, and KSUT are three NPR Member

stations serving communities in the state of Colorado. Each of the Local Member Stations provides

free, high-quality local news programming for the communities they serve.

       61.     Aspen Public Radio is a nonprofit, member-supported, non-commercial community

service of Roaring Fork Public Radio, Inc., serving communities in the Roaring Fork, Crystal,

Colorado, Fryingpan, and Eagle River valleys. Its mission is to support, nourish, and enrich its

community by providing informative, entertaining, and educational radio and digital programming

in a reliable and professional manner.

       62.     Founded in 1980 as Roaring Fork Public Radio Translator, Aspen Public Radio has

grown from broadcasting daily hog prices from the University of Wyoming into one of the most

relied upon news institutions in the Roaring Fork Valley. Aspen Public Radio broadcasts award-

winning reporting by a team of local journalists, as well as over two dozen national public radio

programs, including from NPR, and international news from the BBC.

       63.     Aspen Public Radio has been an NPR Member station since 1990. For nearly its

entire existence, NPR programming has been part of the station’s broadcast offerings. The

station’s tag line is “NPR News for Aspen and the Valley,” and the high-quality journalism the

NPR network provides is core to Aspen Public Radio’s identity as a public radio broadcaster.

Aspen Public Radio chooses to air NPR programming because it is a trusted brand. Aspen Public

Radio’s audience has repeatedly asked for NPR programming, which provides access to a broader

network of journalists and perspectives of communities all across the country. As an NPR Member


                                               16
      Case 1:25-cv-01674-RDM            Document 1        Filed 05/27/25      Page 19 of 43




station, Aspen Public Radio is also provided the opportunity to distribute its local reporting through

national NPR programming, which is a critical way for Aspen Public Radio to execute its mission.

NPR’s programming accounts for approximately 92 hours of content aired weekly, including

between 12-15 hours per day on weekdays.

       64.     Colorado Public Radio (CPR) is a nonprofit, member-supported, non-commercial

community service of Public Broadcasting of Colorado. It is home to CPR News, CPR Classical,

and Indie 102.3. CPR News includes a locally produced program called “Colorado Matters,” local

newscasts throughout the day, and national and international news, including from NPR. CPR

also operates KRCC, a public radio station in Colorado Springs that broadcasts non-commercial

News/Talk programming, including from NPR. KRCC is a member-supported, non-commercial

community service of Colorado College.

       65.     CPR’s programming airs on 19 full-power stations, augmented by 20 translators.

Their combined signal reaches approximately 90 percent of Colorado.

       66.     CPR’s mission is to deliver meaningful news, music, and cultural experiences to

Coloradans. Over the years, CPR’s newsroom has received a number of journalism awards,

including RTNDA Edward R. Murrow Awards, Public Radio News Directors Incorporated

(PRNDI) Awards, and Colorado Broadcasters Association (CBA) Awards.

       67.     CPR has been an NPR Member station since 1973. It chooses to air NPR’s

programming because it offers an efficient and trusted way to deliver national and international

news directly from communities across the country and around the globe. NPR programs go

beyond daily headlines, sharing stories that inspire, spark curiosity, and highlight our shared

human experience. As part of the NPR Network, CPR’s reporting reaches a national audience,




                                                 17
      Case 1:25-cv-01674-RDM            Document 1       Filed 05/27/25      Page 20 of 43




helping to elevate the voice and visibility of Colorado on the national stage. CPR News broadcasts

approximately ten hours per day of NPR programming.

       68.     KSUT was founded by the Southern Ute Indian Tribe in 1976 as one of only eight

Tribal radio stations in the country. It has been an independent, non-profit corporation since 1986.

Since 1998, KSUT has broadcast two complementary and comprehensive programming

services—Four Corners Public Radio and Tribal Radio—from its studios in Ignacio, Colorado.

KSUT serves 14 communities in the Four Corners region, including Durango, Silverton, Cortez,

Mancos, and Pagosa Springs, Colorado; Aztec, Bloomfield and Farmington, New Mexico; and

four distinct Federally Recognized Tribes including the Southern Ute Indian Tribe, Ute Mountain

Ute Tribe, and portions of the Navajo Nation and Jicarilla Apache Nation. KSUT airs news,

eclectic music, entertainment, storytelling, and documentary programming.

       69.     KSUT’s coverage area encompasses approximately 27,000 square miles of mostly

rural land. For most of its coverage area, KSUT is the only public radio station available and the

only available source of free, reliable local and regional news and information.

       70.     KSUT has been an NPR Member station since 1984. It chooses to air NPR’s

programming because it is high-quality, affordable, and resonates with KSUT’s listeners. On

weekdays, NPR’s programming accounts for seven hours of daily content aired on Four Corners

Public Radio and four hours of daily content on Tribal Radio.

       71.     Each of the Local Member Stations receives federal funding from the Corporation

in the form of Community Service Grants (CSGs). For Fiscal Year 2025, approximately $210,000

of Aspen Public Radio’s operating revenue comes from CSG funds, comprising approximately

10.8 percent of its budget. Approximately $1.4 million of CPR’s operating revenue comes from




                                                18
      Case 1:25-cv-01674-RDM           Document 1       Filed 05/27/25      Page 21 of 43




CSG funds, comprising approximately six percent of its budget. $333,000 of KSUT’s operating

revenue comes from CSG funds, comprising approximately 19 percent of its budget.

       72.     Each of the Local Member Stations pays programming and membership fees to

NPR in part with restricted CSG funds they receive from the Corporation—that is, with funds that

must be used to acquire or produce programming that is distributed nationally and serves the needs

of national audiences. See 47 U.S.C. § 396(k)(3)(A)(iii)(III).

       73.     Each of the Local Member Stations is also a stakeholder in the nation’s public radio

interconnection system and relies on the PRSS to distribute content from public radio producers.

The Local Member Stations also rely on the PRSS infrastructure to distribute critical emergency

alerts. Like all Interconnected Stations, the Local Member Stations pay fees to NPR for its

management and operation of the PRSS.

      President Trump and his Administration Attack NPR and Threaten Retaliation

       74.     Since his first term in office, President Trump has repeatedly expressed his

disagreement with the editorial decisions reflected in the speech and viewpoints of programming

offered by NPR and PBS. For example, on January 26, 2020, President Trump promoted a social-

media post claiming that NPR was a “big-government, Democrat Party propaganda operation,”

and questioning “Why does NPR still exist?”5

       75.     On March 25, 2025, President Trump announced in a press conference that he

would “love to” defund NPR and PBS because of his belief that they are “biased.”6




5
 @realDonaldTrump, Twitter (Jan. 26, 2020),
https://x.com/realdonaldtrump/status/1221436736594681856.
6
  Ali Bianco & John Hendel, DOGE’s next target: NPR and PBS, Politico (Mar. 26, 2025),
https://www.politico.com/news/2025/03/26/doge-npr-pbs-hearing-00004556.

                                                19
      Case 1:25-cv-01674-RDM          Document 1      Filed 05/27/25     Page 22 of 43




       76.    On March 27, 2025, President Trump wrote on social media: “NPR and PBS, two

horrible and completely biased platforms (Networks!), should be DEFUNDED by Congress,

IMMEDIATELY. Republicans, don’t miss this opportunity to rid our Country of this giant SCAM,

both being arms of the Radical Left Democrat Party. JUST SAY NO AND, MAKE AMERICA

GREAT AGAIN!!!”7

       77.    On April 1, 2025, President Trump wrote on social media: “REPUBLICANS

MUST DEFUND AND TOTALLY DISASSOCIATE THEMSELVES FROM NPR & PBS, THE

RADICAL LEFT ‘MONSTERS’ THAT SO BADLY HURT OUR COUNTRY!”8

       78.    On April 10, 2025, President Trump wrote on social media: “NO MORE

FUNDING FOR NPR, A TOTAL SCAM! … THEY ARE A LIBERAL DISINFORMATION

MACHINE. NOT ONE DOLLAR!!!”9

       79.    On April 14, 2025, the White House issued a press release entitled “The NPR, PBS

Grift Has Ripped Us Off for Too Long.”10 In it, the White House accused NPR and PBS of

“spread[ing] radical, woke propaganda disguised as ‘news,’” and provided a list of purported

“examples of the trash that passes for ‘news’ at NPR and PBS.”




7
 @readlDonaldTrump, Truth Social (Mar. 27, 2025),
https://truthsocial.com/@realDonaldTrump/posts/114232752130631453.
8
 @readlDonaldTrump, Truth Social (Apr. 1, 2025),
https://truthsocial.com/@realDonaldTrump/posts/114264549657133828.
9
 @readlDonaldTrump, Truth Social (Apr. 10, 2025),
https://truthsocial.com/@realDonaldTrump/posts/112248653824267212.
10
  Available at https://www.whitehouse.gov/articles/2025/04/the-npr-pbs-grift-has-ripped-us-off-
for-too-long/.

                                              20
      Case 1:25-cv-01674-RDM          Document 1       Filed 05/27/25    Page 23 of 43




       80.    On April 15, 2025, Director Vought stated during an interview that NPR and PBS’s

journalism “is not just left-wing indoctrination” but “is worse than that,” and accused NPR and

PBS of “dividing on the basis of wokeism.”11

             The Administration Purports to Fire Three CPB Board Members
                              and Assert Control over CPB

       81.    On the evening of April 28, 2025, the White House’s Deputy Director of

Presidential Personnel, Trent Morse, emailed three of the Corporation’s Board members the

following message:

       On behalf of President Donald J. Trump, I am writing to inform you that your position on
       the Corporation for Public Broadcasting is terminated effective immediately.

       Thank you for your service.

Complaint ¶¶ 34-35, Corporation for Public Broadcasting v. Trump, No. 25-cv-1305, Dkt. 1

(D.D.C. Apr. 29, 2025).

       82.    The following day, the Corporation, its unanimous Board, and the three purportedly

terminated Board members sued to challenge the attempted removal. Id.; see also Plaintiffs’

Motion for a Temporary Restraining Order, Corporation for Public Broadcasting v. Trump, Dkt.

2 (D.D.C. Apr. 29, 2025). That suit remains pending.

       83.    Also on April 29, 2025, Department of Government Efficiency (DOGE) officials

emailed the remaining two Board members requesting a meeting to “discuss getting a DOGE team

assigned to the organization.” Reply at 24, Corporation for Public Broadcasting v. Trump, Dkt.

12 (D.D.C. May 9, 2025); see also Reply Ex. A, Supplemental Declaration of Evan Slavitt ¶ 12,

Dkt. 12-1.


11
  Frances Vinall, et al., Trump administration will ask Congress to cut funding for NPR and
PBS, Washington Post (Apr. 15, 2025), https://www.washingtonpost.com/style/2025/04/15/npr-
pbs-funding-trump-administration/.

                                               21
      Case 1:25-cv-01674-RDM            Document 1       Filed 05/27/25     Page 24 of 43




       84.     The Corporation has averred that, at the time of the Administration’s purported

termination of three of its Board members, the Corporation “was negotiating the extension” of its

current “PRSS Interconnection grant [with NPR]”— which “expires on September 30, 2025”—

“for an additional $35,962,000 using funds that Congress has already appropriated for that specific

purpose.” Reply at 20, Corporation for Public Broadcasting v. Trump, Dkt. 12; see also Reply

Ex. A, Supplemental Declaration of Evan Slavitt ¶¶ 35-36, Dkt. 12-1.            According to the

Corporation, “[i]f the PRSS Interconnection Grant is not extended, the PRSS system will cease

operations and the resulting effects will be catastrophic.” Id.

President Trump Issues the Executive Order Purporting to Terminate All Funding to NPR
        and PBS Based on the Content and Perceived Viewpoint of Their Speech

       85.     On May 1, 2025, President Trump issued Executive Order 14290, titled “Ending

Taxpayer Subsidization of Biased Media” (the Order), which purports to direct federal agencies as

well as the Corporation to stop NPR and PBS from receiving any federal funding.

       86.     Section 1 of the Order announces that its purpose is to terminate federal funding to

NPR and PBS based on the perceived viewpoint of some their programming: It alleges that

“neither entity presents a fair, accurate, or unbiased portrayal of current events.” Order § 1; see

also id. § 2(a) (funding termination is necessary to “ensure that Federal funding does not support

biased and partisan news coverage”).

       87.     Section 1 admits that the Order is motivated by a desire to abrogate the Public

Broadcasting Act and appropriations legislation by executive fiat: “[T]oday the media landscape

is filled with abundant, diverse, and innovative news options. Government funding of news media

in this environment is not only outdated and unnecessary but corrosive to the appearance of

journalistic independence.” Id. § 1.



                                                 22
      Case 1:25-cv-01674-RDM            Document 1        Filed 05/27/25      Page 25 of 43




       88.     Section 1 states that the President “therefore” instructs the Corporation “and all

executive departments and agencies” to “cease Federal funding for NPR and PBS.” Id.

       89.     Section 2 of the Order purports to direct the Corporation to terminate funding

streams that benefit NPR and PBS. First, it states that the “CPB Board shall cease direct funding

to NPR and PBS, consistent with my Administration’s policy to ensure that Federal funding does

not support biased and partisan news coverage. The CPB Board shall cancel existing direct

funding to the maximum extent allowed by law and shall decline to provide future funding.” Id.

§ 2(a). Second, it states that the CPB Board “shall [cease to] provide indirect funding to NPR and

PBS, including by ensuring that [local public stations] do not use Federal funds for NPR and PBS.”

Id. § 2(b). The CPB Board shall do this, the Order states, by revising its 2025 Eligibility Criteria

“to prohibit direct or indirect funding of NPR and PBS” by June 30, 2025. Id. The Order further

states that “the CPB Board shall take all other necessary steps to minimize or eliminate its indirect

funding of NPR and PBS.” Id.

       90.     Section 2 of the Order also appears to dictate that no CPB money shall go to any

public broadcasting station that acquires NPR or PBS content even with non-CPB money. It

provides that, “[t]o the extent permitted” by the 2024 Eligibility Criteria “and applicable law,” the

CPB Board shall “prohibit parties subject to [those criteria] from funding NPR or PBS after the

date of this order.” Id.

       91.     Section 3 of the Order concerns sources of funding other than the Corporation. It

directs “[t]he heads of all agencies” to “identify and terminate, to the maximum extent consistent

with applicable law, any direct or indirect funding of NPR and PBS.” Order § 3(a). The heads of

agencies shall then review any remaining funding for compliance with the terms of the grant,

contract, or other funding instrument under which the funding is received. Id. § 3(b).



                                                 23
      Case 1:25-cv-01674-RDM           Document 1        Filed 05/27/25      Page 26 of 43




       92.     A “Fact Sheet” and press release, which the White House published accompanying

the Order, confirm that the Order is motivated by a hostility toward the perceived viewpoints

expressed by NPR and PBS. The “Fact Sheet,” headlined “President Donald J. Trump Ends the

Taxpayer Subsidization of Biased Media,” alleges that “NPR and PBS have fueled partisanship

and left-wing propaganda with taxpayer dollars.” Fact Sheet. It then lists specific news coverage

and editorial choices with which the President disagrees, ranging from coverage of the Covid-19

pandemic to content featured on Valentine’s Day. Id.

       93.     The press release, entitled “President Trump Finally Ends the Madness of NPR,

PBS,” accuses NPR and PBS of “spread[ing] radical, woke propaganda disguised as ‘news.’”

Expanding on the “Fact Sheet,” the press release contains nineteen bullets and sub-bullets

cataloguing (and mischaracterizing) news and other content by NPR and PBS exemplifying the

types of editorial decisions that prompted the issuance of the Order.

       94.     As evidenced by the President’s statements leading up to the Order, the documents

accompanying it, and the text of the Order itself, the sole, express basis of the Order is the

President’s disapproval of the content of the speech and news reporting of NPR and PBS.

      The Order’s Immediate Consequences for NPR and the Local Member Stations

       95.     The Order purports to direct the Corporation “and all executive departments and

agencies” to cease providing any direct or indirect funding to NPR or PBS.

       96.     Just one day after President Trump issued the Executive Order, the NEA terminated

a grant award to NPR.

       97.     This termination confirms that NEA is complying with the Order and has rendered

NPR ineligible to apply for grants going forward.




                                                24
      Case 1:25-cv-01674-RDM            Document 1        Filed 05/27/25      Page 27 of 43




       98.     The Order purports to require the Corporation to revoke grants already awarded to

NPR and to preclude NPR from receiving such grants in the future, jeopardizing a critical source

of funding used (among other things) to protect journalists working in war zones and maintain

resiliency of the PRSS, the nation’s public radio distribution system.

       99.     By basing its directives on the content and perceived viewpoints expressed in

NPR’s programming, the Order puts NPR on notice that, if it is ever to receive federal funding

again, it must adapt its journalistic and editorial choices to suit the government’s preferences.

       100.    The Order further purports to require the Corporation to prohibit local stations from

using CPB grants to acquire NPR’s programming, notwithstanding a statutory requirement that

stations must use “restricted” funds to acquire or produce programming that is distributed

nationally and serves the needs of national audiences. See 47 U.S.C. § 396(k)(3)(A)(iii)(III).

       101.    The Order would therefore force local stations to redirect those funds to acquire

different national programming—in contravention of their own editorial choices—and to take

additional, non-federal funds out of their budgets to continue acquiring NPR’s programming.

       102.    As noted above, each of the Local Member Stations receives significant grant funds

from the Corporation, ranging between $210,000 and $1.4 million for Fiscal Year 2025. Some of

that funding must be used by the Local Member Stations to acquire or produce national

programming. All of the Local Member Stations use some portion of that funding to acquire NPR

programming. By prohibiting the Local Member Stations from using those funds in that manner,

the Order directly interferes with their journalistic and expressive independence and their editorial

choices—requiring them to use grant funds received from the Corporation to acquire different

national programming rather than NPR programming. If Local Member Stations wish to continue

airing NPR’s programming, they would have to use funds obtained from other sources.



                                                 25
      Case 1:25-cv-01674-RDM           Document 1       Filed 05/27/25      Page 28 of 43




       103.    More broadly, the Order puts the Local Member Stations and other public radio

stations that air NPR programming on notice that the government disapproves of their editorial

choices and will seize any available opportunities to retaliate if they continue to air NPR

programming.

       104.    The loss of all direct funding from CPB and the loss (or significant decline) of

revenue from local stations would be catastrophic for NPR. As described above, NPR’s direct

grants from CPB are used to support vital journalistic endeavors and to support the Public Radio

Satellite System—which serves as an essential public safety mechanism. NPR also receives

approximately $100 million annually from local public radio stations in fees, including the Local

Member Stations, constituting nearly a third of NPR’s operating budget.

       105.    After the Order was issued, the Corporation released a statement explaining that

“CPB is not a federal executive agency subject to the President’s authority” and that “Congress

directly authorized and funded CPB to be a private nonprofit corporation wholly independent of

the federal government.” Corporation for Public Broadcasting, “Statement Regarding Executive

Order on Public Media” (May 2, 2025).12 The Corporation noted that, in creating CPB, “Congress

expressly forbade ‘any department, agency, officer, or employee of the United States to exercise

any direction, supervision, or control over educational television or radio broadcasting, or over

[CPB] or any of its grantees or contractors.’” Id. (quoting 47 U.S.C. § 398(c)).

       106.    However, the President has already purported to remove three of the Corporation’s

five Board members, and the Executive Branch under his direction has unequivocally taken the

position that the President can remove any Board member at any time and for any reason. See



12
  Available at https://cpb.org/pressroom/Corporation-Public-Broadcasting-Statement-
Regarding-Executive-Order-Public-Media.

                                                26
      Case 1:25-cv-01674-RDM            Document 1        Filed 05/27/25     Page 29 of 43




generally Defendant’s Opposition to Plaintiffs’ Motion for Temporary Restraining Order,

Corporation for Public Broadcasting v. Trump, Dkt. 11 (D.D.C. May 6, 2025). Indeed, during

hearings regarding the Corporation’s motions for a temporary restraining order and for a

preliminary injunction, counsel for the government has repeatedly left open the possibility that the

President could attempt to install new Board members without the required advice and consent of

the Senate. 4/29/25 Tr. at 11-12 and 5/14/25 Tr. at 47-49, Corporation for Public Broadcasting v.

Trump. See also Emergency Motion for Stay Pending Appeal at 7-19, Aviel v. Gor, No. 25-5105

(D.C. Cir. Apr. 7, 2025) (asserting that the President’s Article II authority empowers him to

unilaterally appoint “acting” Board members to the Inter-American Foundation after firing all

existing Board members, notwithstanding a statutory requirement that Board members must be

confirmed by the Senate); id. at 19-20 (arguing in the alternative that if the President cannot

appoint acting Board members, he must be permitted to fire the Foundation’s president directly).

The Administration’s efforts to “assign[]” DOGE officials to the Corporation further demonstrate

its intent to exert control over the Corporation’s functions.

       107.    To the extent CPB does not comply with the Order’s directives, the Order appears

to direct the Treasury Department (or any agency or instrumentality that may need to act in any

capacity or to any extent to fulfill the mandates of the Act) to withhold appropriated funds from

CPB because to disburse them would constitute “indirect funding of NPR and PBS” in violation

of Section 3(a) of the Order.

                                             CLAIMS

                                             COUNT 1

                        Lack of Constitutional and Statutory Authority

                      (APA and Equitable Causes of Action—Ultra Vires)

       108.    Plaintiffs incorporate by reference the allegations of the preceding paragraphs.

                                                 27
      Case 1:25-cv-01674-RDM             Document 1        Filed 05/27/25      Page 30 of 43




       109.    The President’s power to issue the Order, and any executive official’s power to

implement it, “must stem either from an act of Congress or from the Constitution itself.”

Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579, 585 (1952). But Congress, through the

Public Broadcasting Act, has expressly prohibited the actions directed by the Order—and no

provision of the Constitution allows the President to override Congress’s will.

       110.    The Act prohibits any “department, agency, officer, or employee of the United

States” from “exercis[ing] any direction, supervision, or control over public telecommunications,

or over the Corporation or any of its grantees or contractors, or over the charter of bylaws of the

Corporation, or over the curriculum, program of instruction, or personnel of any . . . public

telecommunications entity.” 47 U.S.C. § 398(a). The Act further makes clear that the Corporation

is “not . . . an agency or establishment of the United States Government” and that its Board

members are not “officers or employees of the United States. Id. §§ 396(b), (d)(2).

       111.    The Order nevertheless purports to issue commands to the Corporation—including

that it cease all direct funding of NPR and PBS; prohibit local public radio and television stations

from acquiring NPR or PBS programming; and amend its Eligibility Criteria to effectuate the

Order’s directives.

       112.    The Order further violates provisions of the Act that require the Corporation to fund

local public stations in accordance with eligibility criteria that serve specific statutory objectives.

See 47 U.S.C. § 396(k)(6)(B).

       113.    Moreover, the Order violates the Act by prohibiting the Corporation from funding

NPR’s management and operation of the PRSS, notwithstanding the Act’s requirement that the

Corporation “shall” distribute designated Satellite Interconnection Funds to “the national entity”

that public radio stations “designate for satellite interconnection purposes.” Id. § 396(k)(10)(D)(i).



                                                  28
       Case 1:25-cv-01674-RDM             Document 1       Filed 05/27/25      Page 31 of 43




        114.      The Order also violates statutes governing the NEA’s grant-making functions. In

particular, the NEA is required to ensure that “artistic excellence and artistic merit are the criteria

by which applications are judged, taking into consideration general standards of decency and

respect for the diverse beliefs and values of the American public.” 20 U.S.C. § 954(d)(1). By

unilaterally dictating that NPR cannot be eligible to receive any federal grants, the Order precludes

NPR from competing for grants from NEA based on its “artistic excellence and merit,” in violation

of the statute.

        115.      The President has no authority under the Constitution to take such actions. On the

contrary, the power of the purse is reserved to Congress, and the President has no inherent authority

to override Congress’s will on domestic spending decisions. By unilaterally imposing restrictions

and conditions on funds in contravention of Congress, the Order violates the Separation of Powers

and the Spending Clause of the Constitution. See U.S. Const. Art. I, § 8, cl. 1.

        116.      Plaintiffs have an equitable cause of action to enjoin “violations of federal law by

federal officials,” including to enjoin “unconstitutional actions.” Armstrong v. Exceptional Child

Ctr., 575 U.S. 320, 327-28 (2015); see Am. School of Magnetic Healing v. McAnnulty, 187 U.S.

94, 110 (1902). Judicial “[r]eview for ultra vires acts rests on the longstanding principle that if an

agency action is unauthorized by the statute under which [the agency] assumes to act, the agency

has violate[d] the law and the courts generally have jurisdiction to grant relief.” Nat’l Ass’n of

Postal Supervisors v. U.S. Postal Serv., 26 F.4th 960, 970 (D.C. Cir. 2022) (alterations in original;

internal quotations omitted). When a “statutory provision plainly delineates the outer limits of

agency authority and Congress has not expressly precluded judicial review,” plaintiffs have a cause

of action to enjoin ultra vires acts. Id. at 971. Moreover, with respect to the individual federal-

official Defendants, “suits for specific relief against officers of the sovereign allegedly acting



                                                   29
       Case 1:25-cv-01674-RDM            Document 1        Filed 05/27/25       Page 32 of 43




beyond statutory authority or unconstitutionally are not barred by sovereign immunity.” Pollack

v. Hogan, 703 F.3d 117, 119-20 (D.C. Cir. 2012) (per curiam) (quotation marks omitted).

       117.    To the extent that the Executive Order is implemented via final agency action,

including through the NEA’s termination of NPR’s grants, those actions also are reviewable under

the Administrative Procedure Act (APA), 5 U.S.C. § 706, for lack of statutory authority and

violations of the Constitution.

       118.    The Court should therefore declare that the Order is ultra vires, enjoin Defendants

from implementing it, and vacate any agency action implementing the Order.

                                           COUNT 2
                        Violation of the First Amendment—Retaliation
                      (APA and Equitable Causes of Action—Ultra Vires)

       119.    Plaintiffs incorporate by reference the allegations of the preceding paragraphs.

       120.    “The Framers designed the Free Speech Clause of the First Amendment to protect

the ‘freedom to think as you will and to speak as you think.’” 303 Creative LLC v. Elenis, 600

U.S. 570, 584 (2023) (quoting Boy Scouts of America v. Dale, 530 U.S. 640, 660-61 (2000)). “The

Constitution specifically selected the press . . . to play an important role in the discussion of public

affairs.” Mills v. Alabama, 384 U.S. 214, 219 (1966). “Suppression” of the press therefore

“muzzles one of the very agencies the Framers of our Constitution thoughtfully and deliberately

selected to improve our society and keep it free.” Id.

        121.    While government officials have their own right to speak and to “do so forcefully,”

they cannot “use the power of the State to punish or suppress disfavored expression.” Nat’l Rifle

Ass’n v. Vullo, 602 U.S. 175, 188 (2024).          In particular, “the First Amendment prohibits

government officials from retaliating against individuals for engaging in protected speech.”

Lozman v. City of Riviera Beach, 585 U.S. 87, 90 (2018).


                                                  30
      Case 1:25-cv-01674-RDM             Document 1        Filed 05/27/25      Page 33 of 43




       122.      Yet retaliation is the Order’s plain purpose. The Order’s text and the materials that

accompanied it make unmistakably clear that the Order is intended to—and does—retaliate against

NPR because of its protected speech.

       123.      To demonstrate that unlawful retaliation has occurred, a plaintiff must show that

“(1) [it] engaged in conduct protected under the First Amendment; (2) the defendant took some

retaliatory action sufficient to deter a person of ordinary firmness in plaintiff’s position from

speaking again; and (3) a causal link between the exercise of a constitutional right and the adverse

action taken against him.” Aref v. Lynch, 833 F.3d 242, 258 (D.C. Cir. 2016) (internal quotations

omitted).

       124.      NPR and the Local Member Stations have engaged in protected speech by airing

content produced or distributed by NPR, including the specific content listed in the Fact Sheet and

press release.

       125.      There can be no doubt the Order—which seeks to halt all direct and indirect funding

from CPB to NPR, precludes NPR from applying for any federal grants from any federal agency

in the future, and threatens CPB funding to the Local Member Stations—is an adverse action that

would chill an ordinary speaker. The Order also poses a threat to local public radio stations,

including the Local Member Stations, that they will incur official sanctions for airing NPR content.

In so doing, the Order will doubtless result in broader “‘self-censorship’ of speech that could not

be proscribed,” particularly by organizations that receive government funds, and will thereby

“discourage the ‘uninhibited, robust, and wide-open debate that the First Amendment is intended

to protect.’” Counterman v. Colorado, 600 U.S. 66, 75, 78 (2023) (quoting New York Times v.

Sullivan, 376 U.S. 254, 270 (1964)); see also, e.g., Hustler Mag., Inc. v. Falwell, 485 U.S. 46, 50




                                                  31
      Case 1:25-cv-01674-RDM            Document 1       Filed 05/27/25      Page 34 of 43




(1988) (“At the heart of the First Amendment is the recognition of the fundamental importance of

the free flow of ideas and opinions on matters of public interest and concern.”).

       126.     The “causal link” between NPR’s and the Local Member Stations’ protected speech

and the Order’s punitive actions is spelled out by the Order itself and the materials that

accompanied it. The Order seeks to sanction NPR because it is purportedly “biased” and because

the President dislikes the content of certain of its programming.

       127.     Plaintiffs have an equitable cause of action to enjoin “unconstitutional actions” by

federal officials. Armstrong, 575 U.S. at 327.

       128.     To the extent that the Executive Order is implemented via final agency action, those

actions also are reviewable under the APA, 5 U.S.C. § 706, for violations of the Constitution.

       129.     The Court should therefore declare that the Order is ultra vires, enjoin Defendants

from implementing it, and vacate any agency action implementing the Order.

                                            COUNT 3

              Violation of the First Amendment—Viewpoint-Based Discrimination

                      (APA and Equitable Causes of Action—Ultra Vires)

       130.     Plaintiffs incorporate by reference the allegations of the preceding paragraphs.

       131.     “At the heart of the First Amendment’s Free Speech Clause is the recognition that

viewpoint discrimination is uniquely harmful to a free and democratic society.” Vullo, 602 U.S.

at 187.   See also Reed v. Town of Gilbert, Ariz., 576 U.S. 155, 156 (2015) (viewpoint

discrimination is a “‘more blatant’ and ‘egregious form of content discrimination’” (quoting

Rosenberger, 515 U.S. at 829. Because the Order imposes a viewpoint-based burden on NPR’s

and the Local Member Stations’ exercise of their First Amendment rights, it is per se

unconstitutional. See Reed, 576 U.S. at 156.


                                                 32
      Case 1:25-cv-01674-RDM            Document 1        Filed 05/27/25      Page 35 of 43




       132.    Congress is not obligated to support independent public radio with federal funds.

But the government cannot “‘deny a benefit to a person on a basis that infringes his constitutionally

protected . . . freedom of speech’. . . .” United States v. Am. Libr. Ass’n, Inc., 539 U.S. 194, 210

(2003) (citation omitted).     To put it another way, government funding decisions cannot

constitutionally “be aimed at the suppression of ideas thought inimical to the Government’s own

interest.” Legal Servs. Corp. v. Velazquez, 531 U.S. 533, 549 (2001). The Order does just that. It

aims to silence NPR’s speech because the President dislikes the balance of viewpoints expressed

in NPR’s programming.

       133.    By effectuating its retaliatory and viewpoint discriminatory aims through the

Corporation and local public radio stations, the Order also engages in precisely the kind of third-

party coercion that the Supreme Court recently affirmed is unlawful. “[T]he government violate[s]

the First Amendment through coercion of a third party” when its conduct, “viewed in context,

could be reasonably understood to convey a threat of adverse government action in order to punish

or suppress the plaintiff’s speech.” Vullo, 602 U.S. at 191. Here, the Order purports to issue a

direct command to the Corporation that it cease all direct and indirect funding of NPR. It further

seeks to coerce local public radio stations, including the Local Member Stations, by threatening

them with the loss of funds if they continue to exercise their editorial discretion in ways disfavored

by the Administration.

       134.    The Order likewise subjects the Local Member Stations to viewpoint-based

discrimination by dictating that federal funds cannot be used to acquire NPR’s programming. At

the outset, the Order would impose significant burdens on the Local Member Stations by requiring

them to segregate funds and prove to the government’s satisfaction that no CPB grants are being

used to acquire NPR’s programming. But the Order goes further: by decreeing that CPB funds



                                                 33
      Case 1:25-cv-01674-RDM              Document 1     Filed 05/27/25      Page 36 of 43




designated for acquiring national programming cannot be used to acquire NPR’s programming,

the Order would force the Local Member Stations to alter their own editorial choices and acquire

national programming from elsewhere to align with the government’s preferred viewpoints. But

the First Amendment prohibits “restrictions distinguishing among different speakers, allowing

speech by some but not others.” Citizens United, 558 U.S. at 340. Moreover, as the Supreme

Court has repeatedly held, the “‘exercise of editorial control and judgment’” is protected by the

First Amendment, and “‘governmental regulation’” cannot supplant “the ‘crucial process’ of

editorial choice.” Moody, 603 U.S. at 728-29 (quoting Miami Herald Publ’g Co. v. Tornillo, 418

U.S. 241, 258 (1974)). It is hard to conceive of a more blatant scheme to regulate the exercise of

editorial discretion by Executive fiat.

       135.    The Order’s insistence that it is only intended to eliminate supposed “bias” in

NPR’s programming does not salvage it. On the contrary, it proves the Order serves no legitimate

government interest. “The government may not, in supposed pursuit of better expressive balance,

alter a private speaker’s own editorial choices about the mix of speech it wants to convey.” Moody,

603 U.S. at 734. “In case after case, the Court has barred the government from forcing a private

speaker to present views it wished to spurn in order to rejigger the expressive realm.” Id. at 733.

       136.    Plaintiffs have an equitable cause of action to enjoin “unconstitutional actions” by

federal officials. Armstrong, 575 U.S. at 327.

       137.    To the extent that the Executive Order is implemented via final agency action, those

actions also are reviewable under the APA, 5 U.S.C. § 706, for violations of the Constitution.

       138.    The Court should therefore declare that the Order is ultra vires, enjoin Defendants

from implementing it, and vacate any agency action implementing the Order.




                                                 34
      Case 1:25-cv-01674-RDM            Document 1        Filed 05/27/25      Page 37 of 43




                                            COUNT 4

                   Violation of First Amendment—Freedom of Association
                     (APA and Equitable Causes of Action—Ultra Vires)

       139.    Plaintiffs incorporate by reference the allegations of the preceding paragraphs.

       140.    By purporting to direct the Corporation to restrict funds for local public radio

stations that choose to affiliate with NPR, the Order further infringes on NPR’s and those stations’

freedom of association.

       141.    The Supreme Court has “long understood as implicit in the right to engage in

activities protected by the First Amendment a corresponding right to associate with others in

pursuit of a wide variety of political, social, economic, educational, religious, and cultural ends.”

Roberts v. United States Jaycees, 468 U.S. 609, 622 (1984). Government action that “may have

the effect of curtailing the freedom to associate is subject to the closest scrutiny” under the First

Amendment. NAACP v. Alabama ex rel. Patterson, 357 U.S. 449, 460-61 (1958). See also, e.g.,

303 Creative, 600 U.S. at 586 (the First Amendment protects the right to speak, and, “[e]qually,

the First Amendment protects acts of expressive association”).

       142.    By directing the Corporation to prohibit local public radio stations that receive

federal funding from expending funds to become an NPR Member Station or to otherwise acquire

NPR’s programming, the Order cuts at the heart of NPR’s and those public radio stations’ freedom

to associate with one another for expressive purposes.

       143.    Further, the Interconnected Stations, which include but are not limited to NPR

Member Stations, have designated NPR to manage and operate the PRSS on their behalf. The

Order, including by directing the Corporation to cease federal funding to NPR, interferes with the

right of NPR and the Interconnected Stations to associate with one another.




                                                 35
      Case 1:25-cv-01674-RDM            Document 1       Filed 05/27/25      Page 38 of 43




       144.    The Order seeks to force local public radio stations to cut existing ties with NPR to

remain eligible to receive federal funding, including Corporation grants. And local public radio

stations may have to incur significant burdens to ensure they segregate non-federal funds to acquire

NPR’s programing or undertake other burdensome measures to demonstrate compliance with the

Order’s directives.   Cf. Citizens United, 558 U.S. at 337, 339 (government restriction that

“necessarily reduce[d] the quantity of expression” was “a ban on speech,” and potential alternative

means of expression through a political action committee did “not alleviate the First Amendment

problems” because of the associated burdens).

       145.    The Order’s interference with freedom of association among news media entities

only compounds its fundamental incompatibility with the First Amendment. NPR and its Member

stations are partners in newsgathering and reporting, and NPR regularly airs reporting from its

Member stations. The Order constitutes a governmental veto over the programming choices of

public radio stations—threatening those stations with the loss of funds if they choose to air

programming from a speaker that the government has decreed is off-limits.

       146.    Plaintiffs have an equitable cause of action to enjoin “unconstitutional actions” by

federal officials. Armstrong, 575 U.S. at 327.

       147.    To the extent that the Executive Order is implemented via final agency action, those

actions are also reviewable under the APA, 5 U.S.C. § 706, for violations of the Constitution.

       148.    The Court should therefore declare that the Order is ultra vires, enjoin Defendants

from implementing it, and vacate any agency action implementing the Order.

                                         COUNT 5
                            Violation of the Due Process Clause
                        (APA Equitable Causes of Action—Ultra Vires)

       149.    Plaintiffs incorporate by reference the allegations of the preceding paragraphs.


                                                 36
      Case 1:25-cv-01674-RDM            Document 1        Filed 05/27/25      Page 39 of 43




       150.    The Due Process Clause of the Fifth Amendment provides that “No person shall

be . . . deprived of life, liberty, or property, without due process of law.” U.S. Const. amend. V.

       151.    The Order violates the Due Process Clause because it purports to order the

Corporation to terminate all direct and indirect funding to NPR, in disregard of NPR’s substantial

reliance interests in its continued eligibility for such funding. Furthermore, by directing the

Corporation to terminate funding needed by NPR to operate the PRSS, the Order impedes NPR’s

ability to perform its contractual obligations and agreements with Interconnected Stations. In so

doing, the Order deprives NPR of property rights with no pre-deprivation notice or meaningful

opportunity to be heard.

       152.    NPR has a protected property interest in its continued eligibility to receive federal

funding from the Corporation and from local public radio stations that receive grants from the

Corporation. A “statutory entitlement” is a property right under the Due Process Clause, see

Goldberg v. Kelly, 397 U.S. 254, 262 (1970), as is “[l]egitimate and reasonable reliance on a

promise from the state,” Forgue v. City of Chicago, 873 F.3d 962, 970 (7th Cir. 2017) (internal

quotations omitted). Property rights “protect those claims upon which people rely in their daily

lives”; that reliance “must not be arbitrarily undermined.” Bd. of Regents of State Colleges v. Roth,

408 U.S. 564, 577 (1972).

       153.    The degree of pre-deprivation process to which someone is entitled under the Due

Process Clause “depends upon whether the recipient’s interest in avoiding that loss outweighs the

governmental interest in summary adjudication.” Goldberg, 397 U.S. at 263; see Nat’l Council of

Resistance of Iran v. Dep’t of State, 251 F.3d 192, 205-08 (D.C. Cir. 2001) (affording due process

prior to government action depriving organization of “protected property right”).




                                                 37
       Case 1:25-cv-01674-RDM            Document 1       Filed 05/27/25      Page 40 of 43




        154.    The sudden loss of all federal funding, including PRSS funding, as well as fees

from local public radio stations that otherwise would acquire programming from NPR would be

catastrophic to NPR. As described above, NPR receives about 31 percent of its total operating

revenue through fees from local public radio stations, including its Member stations, and additional

millions of dollars from CPB to support NPR’s coverage of particular issue areas, such as the

ongoing war in Ukraine. NPR relies on CPB grants to support essential functions, and without

federal funding, NPR would need to shutter or downsize collaborative newsrooms and rural

reporting initiatives and, at the same time, also eliminate or scale back critical national and

international coverage that serves the entire public radio system and is not replicable at scale on

the local level. Loss of all revenue from local public radio stations would dramatically harm NPR’s

ability to execute its journalistic mission.

        155.    Conversely, the government has no legitimate interest in summary termination of

NPR’s ability to receive federal funding and funding from public broadcasters. Year after year,

Congress has reauthorized funding for the Corporation knowing that a portion of that funding was

destined for NPR. If NPR continues to receive Congressionally appropriated funds while the

Government’s accusations are orderly adjudicated, the government will not seriously suffer harm.

        156.    Given NPR’s weighty interest in avoiding the loss of its property rights relative to

the government’s non-existent interest in abrogating those rights, NPR was entitled to meaningful

pre-deprivation process, including notice and a meaningful opportunity to be heard. See Goldberg,

397 U.S. at 267-68. NPR indisputably did not receive such process.

        157.    Moreover, the Order independently violates the Due Process Clause because it is

void for vagueness. “A law is unconstitutionally vague if it fails to provide a person of ordinary

intelligence fair notice of what is prohibited, or is so standardless that it authorizes or encourages



                                                 38
      Case 1:25-cv-01674-RDM           Document 1       Filed 05/27/25      Page 41 of 43




seriously discriminatory enforcement.” Woodhull Freedom Found. v. United States, 72 F.4th

1286, 1303 (D.C. Cir. 2023) (internal quotations omitted). The vagueness doctrine serves to ensure

that “regulated parties should know what is required of them so they may act accordingly,” and to

require “precision and guidance . . . so that those enforcing the law do not act in an arbitrary or

discriminatory way.” FCC v. Fox Television Stations, 567 U.S. 239, 253 (2012). “When speech

is involved, rigorous adherence to those requirements is necessary to ensure that ambiguity does

not chill protected speech.” Id. at 253-54; see also Karem v. Trump, 960 F.3d 656, 665 (D.C. Cir.

2020) (courts will apply a “particularly stringent vagueness and fair-notice test” where an adverse

action “implicates important First Amendment rights” (brackets and internal quotations omitted)).

       158.    The Order punishes NPR because, in the government’s view, NPR does not

“present[] a fair, accurate, or unbiased portrayal of current events.” Order § 1. NPR did not have

adequate notice that its journalistic activities would subject it to such punishment. Nor does the

Order—which carries the implicit threat of additional adverse consequences for NPR and its Local

Member Stations if their programming deviates from the government’s view of what is “fair” or

“unbiased” in the future—provide any semblance of sufficient notice. Whether reporting is “fair”

or “unbiased” inevitably will depend on the eye of the beholder, making the Order “so standardless

that it . . . encourages seriously discriminatory enforcement.” Woodhull, 72 F.4th at 1303.

       159.    Plaintiffs have an equitable cause of action to enjoin “unconstitutional actions” by

federal officials. Armstrong, 575 U.S. at 327.

       160.    To the extent that the Executive Order is implemented via final agency action, those

actions also are reviewable under the APA, 5 U.S.C. § 706, for violations of the Constitution.

       161.    The Court should therefore declare that the Order is ultra vires, enjoin Defendants

from implementing it, and vacate any agency action implementing the Order.



                                                 39
Case 1:25-cv-01674-RDM          Document 1         Filed 05/27/25    Page 42 of 43




                             PRAYER FOR RELIEF

For these reasons, Plaintiffs respectfully request an order:

162.   Declaring that Executive Order 14290 and all actions implementing it are unlawful

       and unconstitutional;

163.   Preliminarily and permanently enjoining the Defendants from implementing or

       seeking to enforce Executive Order 14290;

164.   Declaring that the National Endowment for the Arts may not withhold funding from

       NPR on the basis of Executive Order 14290;

165.   Declaring that the Corporation may not withhold funding from NPR on the basis of

       Executive Order 14290;

166.   Declaring that the Corporation may not withhold funding from the Local Member

       Stations or condition their receipt of funding on the basis of Executive Order 14290;

167.   Vacating any final agency action implementing Executive Order 14290;

168.   Entering judgment in favor of Plaintiffs;

169.   Awarding Plaintiffs their reasonable costs and attorney’s fees in accordance with

       law; and

170.   Issuing any other relief that the Court deems just and proper.




                                         40
    Case 1:25-cv-01674-RDM   Document 1    Filed 05/27/25     Page 43 of 43




Dated: May 27, 2025                       Respectfully submitted,

                                          /s/Miguel A. Estrada
                                          Miguel A. Estrada (D.D.C. Bar No. 456289)
                                          GIBSON, DUNN & CRUTCHER LLP
                                          1700 M Street, N.W.
                                          Washington, D.C. 20036-4504
                                          (202) 955-8500
                                          MEstrada@gibsondunn.com

                                          Theodore J. Boutrous, Jr. (D.D.C. Bar No.
                                          420440)
                                          Katie Townsend (D.D.C. Bar No. 1026115)
                                          GIBSON, DUNN & CRUTCHER LLP
                                          333 South Grand Avenue
                                          Los Angeles, CA 90071-3197
                                          (213) 229-7000
                                          TBoutrous@gibsondunn.com
                                          KTownsend@gibsondunn.com

                                          Elizabeth A. Allen (Pro Hac Vice Application
                                          Pending)
                                          NATIONAL PUBLIC RADIO, INC.
                                          1111 North Capitol Street, NE
                                          Washington, D.C. 20002
                                          (202) 513-2000
                                          EAAllen@npr.org

                                          Counsel for Plaintiff
                                          National Public Radio, Inc.

                                          Steven D. Zansberg (Pro Hac Vice Application
                                          Pending)
                                          Zansberg Beylkin LLC
                                          100 Fillmore Street, Suite 500
                                          Denver, CO 80206
                                          (303) 564-3669
                                          steve@zblegal.com

                                          Counsel for Plaintiffs Roaring Fork Public
                                          Radio, Inc. d/b/a Aspen Public Radio,
                                          Colorado Public Radio, and KUTE, Inc. d/b/a
                                          KSUT Public Radio




                                   41
